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December 4, 2019

VIA ECF

Hon. Daniel J. Stewart

U.S. Magistrate Judge

James T. Foley U.S. Courthouse
445 Broadway

Room 409

Albany, New York 12207-2926

Re: | Kommer v. Ford Motor Company
Index No.: 17-cv-296 LEK/DJS

Dear Magistrate Judge Stewart:

We represent the Plaintiff Brandon Kommer in the above-captioned class action. Iam
writing to inform the Court of recent developments in the case, and to seek the Court’s guidance
as to the parties’ anticipated next filing.

J am pleased to share with Your Honor that last week’s mediation with David Geronemus
(of JAMS) was successful. With the help, guidance (and patience) of Mr. Geronemus, the
parties were able to reach an agreement-in-principle concerning a nationwide resolution of the
claims Mr. Kommer is prosecuting in this action regarding the latching difficulties he has
experienced with the doors of his Ford-150 truck. The parties are now drafting a long-form
settlement agreement to memorialize their understanding, subject to final approval by both
parties, which we hope to be able to circulate for execution within the next thirty (30) days.
Once the Settlement Agreement is executed, Plaintiff will then move for Preliminary Approval

of the class-wide resolution which has been reached, in anticipation of providing Class Members
with notice of the settlement.

The parties seek the Court’s guidance as to whether the motion for preliminary approval
should be made returnable before Your Honor, or before Judge Kahn. I anticipate the motion
will be fully submitted in January, with an in-person appearance by counsel (if necessary)
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sometime in February, subject to the Court’s availability. I would appreciate Your Honor’s
direction as to which Judge the motion should be made returnable before, at the Court’s earliest
convenience.

Respectfully submitted,

DENLEA & CARTON LLP

 

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JIC/Ad

ce: Peter Fazio, Esq.
